 

Case 2:13-cr-00274-JCZ-KWR Document 125 Filed 12/09/14 Page1of5

%A0245B = (Rev. 09/11) Judgment in a Criminal Case
Sheet 1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAE CASE
Vv.
TEDRICK LEE Case Number: 13-274 "A"

USM Number: 33600-034

George Chaney, Jr.
Defendant’s Attorney

Social Security No.: xxx-xx-7742
THE DEFENDANT:

pleaded guilty to count(s) 1 & 2 of the Superseding Bill of Information on June 9, 2014.
[| pleaded nolo contendere to count(s) which was accepted by the court.

[| was found guilty on count(s) after a piea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Count
21:841(a)Q)} Conspiracy to distribute and possess with intent to distribute 100 grams ]
21:841(b)(1(B) or more of a substance containing a detectable amount of heroin.

21:846

18:922(g)(1) Possession of a firearm by a convicted felon. 2

18:924(a)(2)

The defendant is sentenced as provided in pages 2 through _5 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

[| The defendant has been found not guilty on count(s)

 

Count(s) dismissed on the motion of the United States: original and superseding indictment as to this defendant.

.,,_ itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

COURT REPORTER: Vic DiGiorgio December 9, 2014

Date of Imposition of fud; it
ASST. U.S, ATTORNEY: Matthew Payne oS

PROBATION OFFICER: Catherine Hollinrake Signature me 7 ( 7

Jay C. Zainey, United States District Judge

 

Name and Title of Judge

U9 [oy

Date

 
Case 2:13-cr-00274-JCZ-KWR Document 125 Filed 12/09/14 Page 2of5

AQ245B (Rey, 09/11} Judgment in Criminal Case
Sheet 2 — Imprisonment

 

 

 

 

DEFENDANT: TEDRICK LEE
CASE NUMBER: 13-274 "A"

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of 51 months, as to
counts | & 2, such terms to min concurrently.

It is recommended that any sentence imposed in docket #900214 and #1003016, 21* Judicial District Court, Tangipahoa Parish, State of
Louisiana, run concurrently to the sentence imposed here.

The court makes the following recommendations to the Bureau of Prisons:

That the defendant receive drug treatment and mental health treatment; that he be placed close to home, that
the defendant participate in vocational training in building maintenance, construction, grounds keeping and

horticulture, and music. The Court, having made a factual finding that there is no violence in the defendant’s past,
recommends that the defendant be placed in a 500 hour residential program

The defendant ts remanded to the custody of the United States Marshal.

[__] The defendant shall surrender to the United States Marshal for this district:
at am. pm _ on
as notified by the United States Marshal.

[_] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons before 12:00 noon on
as notified by the Probation or Pretrial Services Office.

Judgment — Page 2 of 3

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
 

 

Case 2:13-cr-00274-JCZ-KWR Document 125 Filed 12/09/14 Page 3of5

AQ245B — (Rev. 09/11} Judgment in a Criminal Case
Sheet 3 — Supervised Release

 

Judgment—Page 3 of 5
DEFENDANT: TEDRICK LEE

CASE NUMBER: 13-274 "A"
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 4 years, as to counts ! & 2, to be served
concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled

substance. The defendant shail submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
substance abuse. (Check if, applicable)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check if applicable.)

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check if applicable.)

[J The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, ef seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted of a qualifying offense. eck if applicable.)

[J The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as shown below, and shall not possess a

“ream STANDARD CONDITIONS OF SUPERVISION

1} the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shail work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the

defendant's compliance with such notification requirement.
 

Case 2:13-cr-00274-JCZ-KWR Document 125 Filed 12/09/14 Page 4of5

AO 245B (Rev, 09/11} Judgment in a Criminal Case
Sheet 3C - Supervised Release

 

 

Judgment—Page 4 of 5

 

DEFENDANT: TEDRICK LEE
CASE NUMBER: 13-274 "A"

SPECIAL CONDITIONS OF SUPERVISION

1) The defendant shall pursue his HiSET or vocational training that will equip him for suitable employment as approved by
the United States Probation Officer.

2) The defendant shall maintain full-time, legitimate employment and not be unemployed for a term of more than 30 days
unless excused for schooling, training, or other acceptable reasons. Further, the defendant shall provide documentation
including, but not limited to pay stubs, contractual agreements, W-2 Wage and Earning Statements, and other
documentation requested by the United States Probation Officer. If unemployed, the defendant shall participate in
employment readiness programs, as approved by the probation officer.

3) The defendant shall undergo random urinalyses, as directed by the U.S. Probation Officer. If the defendant tests positive
for the use of illegal narcotics, he/she may, as determined by the probation officer, participate in an approved treatment
program for substance abuse and abide by all supplemental conditions of treatment, unless directed otherwise by the
Court. Participation may include inpatient/outpatient treatment. The defendant shall contribute to the cost of this
program to the extent that the defendant is deemed capable by the U. S. Probation Officer.

4) The defendant shall submit his person, residence, office or vehicle to a search, conducted by a United States Probation
Officer at a reasonable time in a reasonable manner, based upon reasonable suspicion that contraband or evidence of a
violation of a condition of supervision may exist; failure to submit to a search may be grounds for revocation; the
defendant shall warn any other resident(s) that the premises may be subject to searches pursuant to this condition.
Case 2:13-cr-00274-JCZ-KWR Document 125 Filed 12/09/14 Page5of5

AOQ245B (Rev. 09/1£) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

 

Judgment — Page 5 of 5
DEFENDANT: TEDRICK LEE
CASE NUMBER: 13-274 "A"

CRIMINAL MONETARY PENALTIES

[ The defendant must pay any imposed fine or restitution under the schedule of payments on Sheet 6.

The Court finds that the defendant does not have the ability to pay a fine. The Court will waive the fine in this case.
Assessment Fine Restitution
TOTALS $ 200.00 $ -0- $ -0-
The special assessment is due immediately.

[| The determination of restitution is deferred . An Amended Judgment in a Criminal Case (AQ 245C) will be entered
after such determination,

 

The defendant must make restitution (including community restitution) to the following payees in the amount listed
clow,

 

 

 

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all
nonfederal victims must be paid before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or
Percentage

TOTALS $ $

 

[_] Restitution amount ordered pursuant to plea

[ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant te 18 U.S.C. § 3612(g).

[-_] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[—] the interest requirement is waived for the fine _ restitution.

Othe interest requirement for the fine —_ restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.
